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		OSCN Found Document:RE SUSPENSION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
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				RE SUSPENSION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS2020 OK 15Decided: 03/09/2020IN THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 15, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT OF OFFICIAL PUBLICATION. 



RE: Suspension of Credentials of Registered Courtroom Interpreters



ORDER



¶1 The Oklahoma Board of Examiners of Certified Courtroom Interpreters has recommended to the Supreme Court of the State of Oklahoma the suspension of the credential of the Oklahoma Registered Courtroom Interpreter listed on the attached Exhibit for failure to comply with the annual continuing education requirements for 2019 and/or certificate renewal requirements for 2020.

¶2 Pursuant to 20 O.S., Chapter 23, App. II, Rule 18(c), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date. Pursuant to 20 O.S., Chapter 23, App. II, Rule 20(e), failure to satisfy the continuing education reporting requirements on or before February 15 shall result in administrative suspension on that date.

¶3 IT IS THEREFORE ORDERED that the certificate of each of the interpreters named on the attached Exhibit is hereby suspended effective March 1, 2020.

¶4 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 9th day of MARCH, 2020.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


Interpreter Exhibit


	
		
			
			Ana Arcivar
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Aymee Beiter
			
			
			Continuing Education
			
		
		
			
			Alejo Benito
			
			
			Continuing Education
			
		
		
			
			Mary Blendowski
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Edna Cervantes
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Esperanza Darling
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Elizabeth Esquivel
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Lourdes Felix-Curet
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Luis Licona
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Angelica Lopez-Drain
			
			
			Renewal Fee
			
		
		
			
			Linda Manuel-Reyes
			
			
			Renewal Penalty Fee
			
		
		
			
			Neryvete Reyes Munoz
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Sa Nguyen
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Consuelo Reynoso
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
			Cynthia Santiesteban
			
			
			Continuing Education &amp; Renewal Fee
			
		
		
			
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